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                         UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


3M COMPANY
and
3M INNOVATIVE PROPERTIES
COMPANY,
                Plaintiffs,
                                                 Civil No. 05-1875 (ADM/JSM)
         v.
                                                 ORDER OF DISMISSAL WITHOUT
VITA ZAHNFABRIK H. RAUTER                        PREJUDICE
GMBH & CO., KG,
and
VIDENT, INC.,
                 Defendants.



         WHEREAS, the parties Plaintiffs 3M Company and 3M Innovative Properties

Company and Defendants Vita Zahnfabrik H. Rauter GMBH & Co, KG and Vident,

Inc., having agreed to the terms of a Settlement and License Agreement that resolves

all claims, defenses and counterclaims pled in this action, and having filed a

Stipulation and Joint Motion for Dismissal Without Prejudice (Doc. No. 62), the Court

hereby orders that this action be dismissed without prejudice, with each party bearing

its own legal fees and costs.

         LET JUDGMENT BE ENTERED ACCORDINGLY.

DATED: July 24, 2008                s/Ann D. Montgomery
                                    _____________________________________
                                    HONORABLE ANN D. MONTGOMERY
                                    United States District Judge

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